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                        Ex. B
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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                                                              MDL NO. 2492
                                                              Case No. 13-cv-09116
IN RE: NATIONAL COLLEGIATE
ATHLETIC ASSOCIATION STUDENT-
                                                              Judge John Z. Lee
ATHLETE CONCUSSION LITIGATION
                                                              Magistrate Judge Brown


                        DECLARATION OF JOSEPH SIPRUT IN SUPPORT OF

                                  APPLICATION FOR LEAD COUNSEL

          I, Joseph Siprut, declare as follows:

          1.     I am an attorney with Siprut PC (“Siprut”), an attorney for plaintiffs in the above

captioned case. I have full knowledge of the matters stated herein and could and would testify

hereto.

          2.     I am the managing partner of Siprut PC. I was named a “Super Lawyer” in Illinois

for Class Action Litigation, and hold an AV Preeminent rating by Martindale Hubble, the highest

possible peer review rating. I was also selected for membership in the Multi-Million Dollar

Advocates forum, one of the most prestigious groups of trial lawyers in the United States.

Membership is limited to attorneys who have won million and multi-million dollar verdicts and

settlements, and fewer than 1% of U.S. lawyers are members.

          3.     I and my firm have been appointed lead or co-lead counsel in nationwide class

actions across the country, including:

         In re Southwest Airlines Voucher Litigation (Case No. 11-cv-8176, N.D. Ill.): Appointed
          lead counsel in nationwide class action relating to Southwest’s unilateral cancellation of
          drink vouchers paid for by business select travelers. Settlement valued up to $58 Million
          granted final approval.
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      In re Energizer Sunscreen Litigation, (Case No. 13-cv-00131, N.D. Ill.): Appointed lead
       counsel in nationwide class action relating to defective sunscreen nozzles manufactured
       by Energizer. Settlement valued up to $200 Million granted preliminary approval.

      Foos v. Ann, Inc. (Case No. 11-cv-02794-L-MDD, S.D. Cal.): Appointed lead counsel in
       class action on behalf of California consumers for violations of the Song-Beverly Act.
       Settlement valued at $2,323,500 received final approval.

      Lamb v. Bitech, Inc. (Case No. 3:11-cv-05583-EDL, N.D. CA): Appointed lead counsel
       in class action on behalf of California consumers for violations of the Song-Beverly Act.
       Class-wide settlement on behalf of 30,000 California residents preliminarily approved.

      Golba v. Dick’s Sporting Goods, Inc. (Case No. 30-2011-00472227, CA Superior Ct.):
       Appointed lead counsel in class action on behalf of California consumers for violations
       of the Song-Beverly Act. Settlement valued at $1,150,000 granted final approval.

      Banakus v. United Continental Holdings, et al. (Case No. 12-cv-06244, N.D. Ill.):
       Appointed co-lead interim class counsel in a nationwide class action pertaining to
       United’s unilateral, retroactive devaluation of the benefits earned by premier members.

      In re Barnes & Noble Pin Pad Litigation (Case No. 12-cv-8617, N.D. Ill.): Appointed
       co-lead counsel in nationwide class action relating to a security breach exposing the
       personal information of hundreds of thousands of consumers nationwide.

      Goodman v. Casting360, LLC (Case No. 12-cv-09851, N.D. Ill.): Appointed lead
       counsel in nationwide class action for violations of the federal Telephone Consumer
       Protection Act.

      Kruse, et al. v. Citigroup, Inc. (Case No. 11-cv-01003-AG-AN, C.D. CA): Appointed
       lead counsel in a nationwide class action against Citigroup for a massive data breach
       exposing the personal information of hundreds of thousands of consumers nationwide.

       4.      My experience in successfully leading the prosecution of complex consumer class

actions, including consumer fraud class cases, establishes that I am well-suited to serve as one of

Plaintiffs’ Co-Lead Counsel here. A copy of my firm resume is attached as Exhibit 1.

       I declare that the foregoing is true and correct.

       Dated May 9, 2014



                                                      /s/ Joseph Siprut
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                                    SIPRUT PC FIRM RESUME
         Siprut PC is a commercial litigation firm based in Chicago, with additional offices in San
Diego and Boston. The firm focuses its practice exclusively on litigation and pre-litigation
counseling, encompassing a wide variety of areas and issues. The firm’s primary practice groups
broadly include plaintiffs’ class action litigation (with a particular emphasis on consumer law
issues) and complex business litigation, including particularly qui tam and whistleblower
litigation; professional malpractice litigation; intellectual property and patent litigation; and
employment practices.

        Siprut PC and its attorneys have recovered hundreds of millions of dollars for its clients in
federal and state courts across the country. The firm and its attorneys have been prominently
featured in the mainstream media for its successes and advocacy on behalf of consumers
nationwide.

CLASS ACTION AND CONSUMER LITIGATION

       Siprut PC prosecutes class actions across a wide variety of industries. The firm and its
attorneys have been appointed lead or co-lead counsel in nationwide class actions across the
country and have recovered hundreds of millions of dollars on behalf of consumers:

       •   In re Southwest Airlines Voucher Litigation (Case No. 11-cv-8176, N.D. Ill.):
           Appointed lead counsel in nationwide class action relating to Southwest’s unilateral
           cancellation of drink vouchers paid for by business select travelers. Settlement valued
           up to $58 Million granted final approval.

       •   Arrington, et al. v. National Collegiate Athletic Association (Case No. 11-cv-06356,
           N.D. Ill.): Appointed co-lead interim class counsel in a nationwide class action against
           the NCAA on behalf of current and former collegiate athletes related to concussions
           and head injuries.

       •   In re Energizer Sunscreen Litigation, (Case No. 13-cv-00131, N.D. Ill.): Appointed
           lead counsel in nationwide class action relating to defective sunscreen nozzles
           manufactured by Energizer. Settlement valued up to $200 Million granted preliminary
           approval.

       •   In re: Zydus Unsolicited Fax Litigation (Case No. 13-cv-03105, N.D. IL): Appointed
           lead counsel in nationwide class action relating to unsolicited facsimile transmissions
           by Zydus, in violation of the Telephone Consumer Protection Act. Settlement valued
           up to $2.25 million granted preliminary approval.

       •   Foos v. Ann, Inc. (Case No. 11-cv-02794-L-MDD, S.D. Cal.): Appointed lead counsel
           in class action on behalf of California consumers for violations of the Song-Beverly
           Act. Settlement valued at $2,323,500 received final approval.




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         •    Lamb v. Bitech, Inc. (Case No. 3:11-cv-05583-EDL, N.D. CA): Appointed lead counsel
              in class action on behalf of California consumers for violations of the Song-Beverly
              Act. Class-wide settlement on behalf of 30,000 California residents preliminarily
              approved.

         •    Golba v. Dick’s Sporting Goods, Inc. (Case No. 30-2011-00472227, CA Superior Ct.):
              Appointed lead counsel in class action on behalf of California consumers for violations
              of the Song-Beverly Act. Settlement valued at $1,150,000 granted final approval.

         •    In re Ventra Card Litigation (Case No. 13-cv-07294, N.D. Ill.): appointed co-lead
              interim counsel in class litigation related to the Chicago Transit Authority Ventra
              payment card system.

         •    Banakus v. United Continental Holdings, et al. (Case No. 12-cv-06244, N.D. Ill.):
              Appointed co-lead interim class counsel in a nationwide class action pertaining to
              United’s unilateral, retroactive devaluation of the benefits earned by premier members.

         •    In re Barnes & Noble Pin Pad Litigation (Case No. 12-cv-8617, N.D. Ill.): Appointed
              co-lead counsel in nationwide class action relating to a security breach exposing the
              personal information of hundreds of thousands of consumers nationwide.

         •    Goodman v. Casting360, LLC (Case No. 12-cv-09851, N.D. Ill.): Appointed lead
              counsel in nationwide class action for violations of the federal Telephone Consumer
              Protection Act.

         •    Kruse, et al. v. Citigroup, Inc. (Case No. 11-cv-01003-AG-AN, C.D. CA): Appointed
              lead counsel in a nationwide class action against Citigroup for a massive data breach
              exposing the personal information of hundreds of thousands of consumers nationwide.

BUSINESS AND COMMERCIAL LITIGATION

       Siprut PC handles complex commercial and business litigation matters in Illinois and
throughout the United States, including claims involving:

     •       Patent litigation
     •       Professional liability
     •       Breach of contract
     •       Partnership disputes
     •       Real estate and lease disputes
     •       Copyright litigation
     •       Business fraud
     •       Unfair trade practices
     •       Theft of trade secrets




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ATTORNEYS

         JOSEPH SIPRUT is the founder and managing partner of Siprut PC. His practice
encompasses a wide spectrum of litigation, with an emphasis on challenging cases against
powerful, well-funded adversaries. He has been appointed lead or co-lead class counsel in some
of the largest and most complex class actions in the country, and has substantial first-chair
experience in all aspects of litigation, including trial, arbitration, and mediation. He was named a
“Super Lawyer” in Illinois for Class Action Litigation, and holds an AV Preeminent rating by
Martindale Hubble, the highest possible peer review rating. Mr. Siprut was also selected for
membership in the Multi-Million Dollar Advocates forum, one of the most prestigious groups of
trial lawyers in the United States. Membership is limited to attorneys who have won million and
multi-million dollar verdicts and settlements, and fewer than 1% of U.S. lawyers are members.

        Mr. Siprut has appeared in dozens of publications and television and radio broadcasts
worldwide, including CBS Radio, NPR, ESPN, Bloomberg Law, Law360, the Chicago Tribune,
and more. He has been deemed by the media as the “Friend of the Frequent Fliers” for his
successful litigation crusades against the airline industry on behalf of airline customers, as well as
a “Leading Sports Reformer” for his advocacy to combat the problem of concussions and head
injuries in college sports.

        Mr. Siprut is an Adjunct Professor at Northwestern University School of Law, where he
teaches in the Trial Advocacy program. He is a frequent author and speaker, having published over
25 articles in the nation's leading law reviews and legal journals on topics including the right of
privacy, copyright litigation, and contract doctrine, as well as litigation strategy and tactics. He
was appointed as a member of the Illinois ARDC Hearing Board, and is also a member of the
Advisory Board for the Fair Contracts Project, an initiative focused on counteracting the
implications of fine print in standard form consumer contracts.

        Mr. Siprut is a graduate of Northwestern University School of Law, where he served as the
Managing Editor of the Northwestern Law Review and was selected to represent Northwestern in
national competition as a member of its National Moot Court team. He was also awarded the
Institute for Humane Studies Fellowship, a national fellowship competition for law and graduate
study.

         Prior to founding Siprut PC, Mr. Siprut spent his career practicing at some of the top
corporate litigation firms in the country. Mr. Siprut has been recognized by the Law in Public
Service Committee of the ABA for his dedication to pro bono work. He is admitted to practice in
Illinois, the United States District Court for the Northern District of Illinois (including its Trial
Bar), the Seventh Circuit Court of Appeals, and the United States Supreme Court. For over five
years, Mr. Siprut served as an arbitrator in the Cook County Arbitration Program.

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     MELANIE NELSON is a partner at Siprut PC. Her practice includes a wide array of
commercial disputes, with an emphasis on personal injury and consumer class actions. Ms. Nelson




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is a seasoned trial attorney, having handled nearly 30 jury trials -- 10 as first-chair. Throughout
her career, she has represented diverse clients, from Fortune 500 companies to individuals.

       Before joining Siprut PC, Ms. Nelson served as Assistant Corporation Counsel for the City
of Chicago Law Department, where she represented the City of Chicago in a broad range of cases
including wrongful death, civil rights, medical malpractice and personal injury claims. Prior to
government service, Ms. Nelson practiced at prominent national litigation firms, focusing
primarily on antitrust litigation and commercial business disputes.

       Ms. Nelson has successfully argued a habeas corpus petition before the Seventh Circuit
Court of Appeals and has significant experience representing domestic violence victims in
obtaining orders of protection and asylum.

        Ms. Nelson graduated from the University of Chicago Law School, with honors, and served
on the Executive Board of the University of Chicago Legal Forum. She earned her undergraduate
degree at the University of Michigan, with honors and distinction. Ms. Nelson is admitted to
practice in Illinois, the Northern District of Illinois and the Seventh Circuit Court of Appeals.

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       GREGG BARBAKOFF is an attorney at Siprut PC. His practice encompasses a wide
spectrum of litigation with an emphasis on commercial litigation and consumer class actions.
Gregg serves on the Board of Directors for the American Constitution Society, a progressive legal
organization dedicated to the core Constitutional values of civil liberties, open access to justice,
and the rule of law.

         Gregg is a graduate of the Chicago-Kent College of Law, where he served as an editor of
the Seventh Circuit Review, in which he was also published. During law school, he was selected
as a Member of the Chicago-Kent Moot Court Honor Society, where he won the award for Best
Overall Oralist at the Appellate Lawyers Association Moot Court Competition. Gregg was
selected for the Class of 1976 Honors Scholarship while attending Chicago-Kent. Gregg graduated
from Chicago-Kent magna cum laude, and was recently inducted into the Order of the Coif. Gregg
is admitted to practice in Illinois and in the United States District Court for the Northern District
of Illinois.

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         MATTHEW SAVIN is an attorney at Siprut PC. His practice includes a broad range of civil
litigation, with an emphasis on commercial litigation and consumer class actions. Matthew
graduated with honors from Chicago-Kent College of Law, where he served as staff editor for the
Seventh Circuit Review and received the Baum Fellowship for his work in public interest law.
Matthew is admitted to practice in the State of Illinois and the United States District Court for the
Northern District of Illinois.


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        GREG JONES is an attorney at Siprut PC. His practice focuses on business litigation, with
an emphasis on business torts and consumer fraud issues. Greg is a graduate of Northwestern
University and Loyola University Chicago School of Law. At Loyola, Greg served as a Copy
Editor and Symposium Editor for the Consumer Law Review. In addition, Greg was a fellow with
the Institute for Consumer Antitrust Studies and served a legal internship with Magistrate Judge
Michael Mason in the Northern District of Illinois.

                                          *      *       *

        ISMAEL SALAM is an attorney at Siprut PC. His practice is focused principally on class
action litigation, with an emphasis on consumer protection, data privacy and technology issues,
and litigation under the Telephone Consumer Protection Act. Ismael is a graduate of Loyola
University Chicago School of Law, where he served as Managing Editor of the Public Interest
Law Reporter, in which he is also published. He also served as a junior member of the Loyola Law
Journal, the law school’s main publication. During law school, he was selected as a Student Fellow
for Loyola’s Institute for Consumer Antitrust Studies, where he drafted papers on price-fixing. He
was also awarded the CALI for the highest grade in his Law and Economics course.

        Prior to Siprut PC, Ismael interned with the U.S. Army Judicial Advocate General’s Corps
at Fort Carson, Colorado, U.S. Attorney’s Office for the Northern District of Illinois, U.S. Court
of Appeals for the Seventh Circuit, and U.S. District Court for the Northern District of Illinois.

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         BRANDON CAVANAUGH is an attorney at Siprut PC. His practice includes a wide variety
of complex civil litigation, with an emphasis on consumer class action prosecution. He graduated
from Loyola-Chicago’s School of Law where he was a fellow with the Institute for Consumer
Antitrust Studies and an editor for Loyola’s Consumer Law Review. During law school, Brandon
also served as an extern to the Honorable Joan Humphrey Lefkow of the Northern District Court
of Illinois, and earned a CALI Award in Advanced Business Organizations.

                                          *      *       *

         TODD C. ATKINS is Of Counsel at Siprut PC, and heads the Firm’s California office. His
litigation practice encompasses class actions, real estate and securities matters – representing both
brokers and plaintiffs. Todd is also a trained and experienced mediator, and received his
certification from the National Conflict Resolution Center.

        Todd is a graduate of the University of San Diego, School of Law. He is admitted to
practice in California, the District of Columbia, and the United States District Court for the
Southern District of California, and is also a licensed real estate broker

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       ALEXANDER SHAPOVAL is Of Counsel at Siprut PC, and heads the Firm's Boston office.
His practice encompasses all manner of civil litigation, including class actions and personal injury



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litigation. Alexander is an experienced trial lawyer, with substantial first-chair jury trial
experience.

      Alexander is a graduate of the Massachusetts School of Law. He is admitted to practice in
Massachusetts and the United States District Court for the District of Massachusetts.




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